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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                                Case No. 06–CR–40057–JPG–7

 KEVIN PULLEY,
 Defendant.

                         MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Kevin Pulley’s pro se motions for compassionate release

(ECF Nos. 659, 663). For the reasons below, the Court DENIES Pulley’s motions.

I.     PROCEDURAL & FACTUAL HISTORY

       A. The Conviction

       In 2006, a federal grand jury in this District indicted Pulley for conspiring to manufacture

and distribute methamphetamine. (Superseding Indictment 1, ECF No. 26). He pleaded guilty the

next year, (Plea Agreement 1, 15, ECF No. 276); and the Court sentenced him to a 153-month

term of imprisonment, (Judgment 2, ECF No. 345).

       In 2019, four years after his release, Pulley tested positive for methamphetamine at least

five times, admitted to possessing methamphetamine at least three other times, and failed to submit

a written report to the U.S. Probation Office (as required by the terms of his supervised release)

23 times. (Judgment for Revocation of Supervised Release 2, ECF No. 647). The Court sentenced

him to another 24-month term of imprisonment, an upward variance from the eight-to-fourteen

months recommended by the U.S. Sentencing Guidelines Manual. (See id. at 3). He is currently

incarcerated at U.S. Penitentiary (“USP”) Leavenworth in Kansas. (Def.’s First Mot. for

Compassionate Release 1, ECF No. 659).
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        B. The Presentence Investigation Report

        Before both sentencings, the Court considered the Presentence Investigation Report

(“PSR”) prepared by the Probation Office, which provided information about the nature and

circumstances of the offenses and Pulley’s background. (See PSR 1, ECF No. 342).

        According to the PSR, law-enforcement officers in a joint state-federal drug task force first

discovered that Pulley was manufacturing methamphetamine in 2004.

               [A] deputy observed a subject wreck his vehicle and run on
               foot. . . . Another officer searched for the subject and noticed a
               male in his backyard direct the officers to where he reportedly saw
               the subject running. The officer detected a strong odor of ether
               about the male and an even stronger odor emitting from a storage
               shed on the property. The individual, later identified as Kevin
               Pulley, left his residence in a vehicle. Other officers were called to
               the residence and received permission from the defendant’s
               wife . . . to search the residence. Officers located several pieces of
               aluminum foil with burnt residue and a powdery substance[,] . . . a
               plastic tube with white residue and folded piece of aluminum
               foil[,] decongestant tablets[, and] . . . several other items used to
               manufacture methamphetamine, liquid methamphetamine, and
               finished methamphetamine.

(Id. at 7).

        They ultimately discovered that Pulley was manufacturing methamphetamine as a member

of a 10-person conspiracy. (Id. at 4).

               Pulley’s involvement in this conspiracy consisted of stealing
               anhydrous ammonia for use during methamphetamine cooks.
               Specifically, Pulley stole anhydrous ammonia on a daily basis for
               some time. . . . Additionally, Pulley performed methamphetamine
               cooks and assisted others during cooks.

(Id. at 6–7). Together, with the 50 gallons of anhydrous ammonia that Pulley stole, the conspirators

manufactured “approximately 12,375 grams or 12.3 kilograms, of a mixture and substance

containing methamphetamine.” (Id. at 8).




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          C. Pulley’s Motions for Compassionate Release

          In May 2020, Pulley moved for a sentence modification under 18 U.S.C. § 3582(c)(1)(A),

also called compassionate release. (Def.’s First Mot. for Compassionate Release at 1). In a second

motion filed in July, he contends that serious medical conditions—high blood pressure, high

cholesterol, pre-diabetes, and “early symptoms of COPD”—make him especially vulnerable to the

COVID-19 virus. (Def.’s Second Mot. for Compassionate Release 2, ECF No. 663).

          The COVID-19 virus, of course, is now a global pandemic. At USP Leavenworth,

14 inmates currently have COVID-19; 516 have recovered; and none have died. Coronavirus,

Bureau of Prisons (last visited Nov. 6, 2020). 1 In brief, Pulley argues that his increased risk of

experiencing serious complications if he contracted COVID-19 is an extraordinary and compelling

reason warranting his release. (Def.’s Second Mot. for Compassionate Release at 2).

II.       LAW & ANALYSIS

          The Court recognizes that compassionate release is appropriate for some defendants given

the COVID-19 pandemic. Even so, each defendant moving for compassionate release bears the

burden of showing not only that they face an increased risk from the virus, but also that their

continued incarceration is unnecessary to advance the statutory purposes of punishment (i.e.,

justice, deterrence, incapacitation, and rehabilitation). Pulley failed to meet that burden.

              A. Legal Standard

          District courts generally “may not modify a term of imprisonment once it has been

imposed . . . .” 18 U.S.C. § 3582(c). That said, an exception exists for when “extraordinary and

compelling reasons warrant such a reduction . . . .” Id. § 3582(c)(1)(A)(i). Even then, however, the

sentencing judge must still “consider[] the factors set forth in section 3553(a) to the extent that



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    Available at https://www.bop.gov/coronavirus.


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they are applicable . . . .” Id. § 3582(c)(1)(A). The burden of proof rests on the defendant. See

United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352,

1356 (11th Cir. 2014).

       The § 3553(a) factors include:
                   (1)    The nature and circumstances of the offense and the history and
                          characteristic of the defendant;

                   (2)    The need for the sentence imposed—

                             a. To reflect the seriousness of the offense, to promote respect for
                                the law, and to provide just punishment for the offense;

                             b. To afford adequate deterrence to criminal conduct;

                             c. To protect the public from further crimes of the defendant; and

                             d. To provide the defendant with needed educational or
                                vocational training, medical care, or other correctional
                                treatment in the most effective manner;

                   (3)    The kinds of sentences available;

                   (4)    The kinds of sentence and the sentencing range established for—

                             a. The applicable category of offense committed by the applicable
                                category of defendant as set forth in the guidelines . . . or;

                             b. In the case of a violation of probation or supervised release, the
                                applicable guidelines or policy statements issued by the
                                Sentencing Commission . . . ;

                   (5)    Any pertinent policy statement—

                             a. Issued by the Sentencing Commission . . . ; and

                             b. That . . . is in effect on the date the defendant is sentenced[;]

                   (6)    The need to avoid unwarranted sentencing disparities among
                          defendants with similar records who have been found guilty of similar
                          conduct; and

                   (7)    The need to provide restitution to any victims of the offense.



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18 U.S.C. § 3553(a).
          “The judge need not address every factor ‘in checklist fashion, explicitly articulating its

conclusions regarding each one.’ ” See United States v. Kappes, 782 F.3d 828, 845 (7th Cir. 2015)

(quoting United States v. Shannon, 518 F.3d 494, 496 (7th Cir. 2008)). It is enough to “simply

give an adequate statement of reasons, consistent with § 3553(a), for thinking” that a sentence

modification is inappropriate. See Shannon, 518 F.3d at 496.

               B. The § 3553(a) Factors Weigh Against Compassionate Release

          First, the Court acknowledges the particular danger posed by the COVID-19 pandemic to

prisoners, who live in close quarters and often cannot practice social distancing. “But the mere

existence of COVID-19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release . . . .” United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020). The Bureau of Prisons (“BOP”) is in the best position to know which inmates are

most susceptible to infection and whether they still pose a public-safety risk. And since

March 2020, BOP has released over 7,000 inmates that it has identified as “suitable for home

confinement.” Coronavirus, BOP (last visited Nov. 6, 2020). 2 Although not bound by any BOP

determination, the Court gives BOP some deference in this area “considering [its] statutory role,

and its extensive professional efforts to curtail the virus’s spread.” Raia, 954 F.3d at 597.

          With that in mind, the § 3553(a) factors weigh against a sentence modification here.

Although his initial offense was nonviolent, facilitating the spread of dangerous and addictive

chemicals to the public is still reprehensible. His role in the offense not only included the

manufacture of methamphetamine, but also the theft of precursors from third parties. When he was

finally released after nearly a decade in prison, he blatantly ignored the Court’s directive to submit



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    Available at https://www.bop.gov/coronavirus/.


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 monthly reports to the Probation Office. Worse, he admitted to continued drug use. Although

 Pulley feels strongly that his above-Guideline sentence was unwarranted, the Court disagreed—

 and still does. Rather, the sentence reflects the severity of the offenses and the need to protect the

 public from further crimes. That remains true now, less than a year later. Even if Pulley faces a

 heightened risk from COVID-19, just punishment is required for the plague of narcotics that he

 produced with utter disregard for the community’s welfare. Further, home confinement would be

 an ineffective alternative to imprisonment, as evidenced by Pulley’s supervised-release violations.

 Put differently, Pulley’s continued incarceration is necessary to adequately promote respect for the

 law, reflect the seriousness of the offense, and deter further criminal conduct from himself and

 others.

III.       CONCLUSION

           The Court DENIES Defendant Kevin Pulley’s pro se motions for compassionate release.

           IT IS SO ORDERED.

 Dated: Friday, November 6, 2020
                                                       S/J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       UNITED STATES DISTRICT JUDGE




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